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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF VERMONT

 GARRET SITTS, et al.,

       Plaintiffs,                         Civil Action No. 2:16-cv-00287-cr

 v.

 DAIRY FARMERS OF AMERICA, INC. and
 DAIRY MARKETING SERVICES, LLC,

       Defendants.



 DEFENDANTS DAIRY FARMERS OF AMERICA, INC. AND DAIRY MARKETING
  SERVICES, LLC’S REPLY IN SUPPORT OF THEIR MOTION IN LIMINE NO. 7:
 TO PRECLUDE PLAINTIFFS FROM INTRODUCING EVIDENCE AND MAKING
 ARGUMENTS CONCERNING THE COMPENSATION OF THE EMPLOYEES OF
DAIRY FARMERS OF AMERICA, INC. AND DAIRY MARKETING SERVICES, LLC
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       In their motion in limine, Defendants Dairy Farmers of America, Inc. and Dairy Marketing

Services, LLC (collectively, “DFA”) request that the Court preclude plaintiffs and their witnesses

from introducing the compensation and related financial information, including W-2 information

and retirement contributions, of ten of DFA’s executives,1 as such information is irrelevant and its

admission into evidence would be unfairly prejudicial.

       In their Opposition, plaintiffs first argue that compensation evidence “can explain the

motivation behind a conspiracy to suppress raw milk prices.”2 Pls.’ Opp’n to Mot. in Limine No.

7 at 3, ECF No. 227 (“Opp’n”). However, plaintiffs have no basis to suggest that the compensation

of DFA’s employees was tied to the alleged conspiracy. This is because there is no direct

connection—and certainly no evidence—between the executives’ compensation and the alleged

conspiracy’s center of profitability; as such, evidence of compensation is irrelevant.

       Next, plaintiffs claim that evidence of compensation is not unfairly prejudicial and will not

be used to “inflame” the jury. However, plaintiffs show their true hand in their Opposition, which

itself seeks to inflame the Court with comparisons of CEO Rick Smith’s compensation to the

income of DFA’s farmer-members and their reference to DFA employees’ salary as a “payoff.”

                                          ARGUMENT

       In their Opposition, plaintiffs argue that “courts routinely recognize the relevancy of

[compensation] information, stating ‘evidence of the amount of compensation’ received by

defendants ‘is relevant to show [their motive]’ to engage in such anticompetitive conduct.” Opp’n



1
       These ten executives were the subject of the Court’s discovery order of May 18, 2018.
Hr’g Tr. 3:3-6; 33:1-10, May 18, 2018, ECF No. 71; see also DFA’s Mot. in Limine No. 7 at 1-2,
ECF No. 211 (“MIL No. 7”).
2
       Plaintiffs also argue that evidence of DFA executive compensation is necessary to refute
DFA’s Capper-Volstead Act defense. Opp’n at 3. DFA addresses this argument in its Motion in
Limine No. 9, ECF No. 234, and incorporates those arguments by reference.
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at 5 (quoting United States v. Hawley, 562 F. Supp. 2d 1017, 1034 (N.D. Iowa 2008)). However,

this is only half the story. The fact is that courts recognize the relevance of compensation

information where that compensation is directly tied to the success of the alleged conspiracy, and

the cases cited by plaintiffs support this position. See Opp’n at 5 (relying on Ferguson, Goldstone,

and Peake, among others).

       For example, in United States v. Ferguson, the court permitted the government to present

evidence of defendant’s deferred compensation plan because the plan was directly tied to the

success of the scheme and was, therefore, relevant to proving motive. No. 3:06CR137 (CFD),

2007 U.S. Dist. LEXIS 87842, at *3-7 (D. Conn. Nov. 30, 2007); see also S.E.C. v. Goldstone,

No. CIV 12-0257 JB/GBW, 2016 U.S. Dist. LEXIS 92512, at *59 (D.N.M. June 13, 2016)

(recognizing Ferguson decision). However, the Ferguson court further held that defendant’s

salary and bonuses were irrelevant – and, therefore, inadmissible – because the salary and bonuses

“are not probative of any financial incentive [defendant] may have had to participate.” 2007 U.S.

Dist. LEXIS 87842, at *5-6. Similarly, in United States v. Peake, another case relied upon by

plaintiffs, the government was permitted to present evidence of the defendant’s salary and

compensation only because such salary and compensation were directly tied to the profitability of

the scheme. See 143 F. Supp. 3d 1, 18 (D.P.R. 2013).3

       Unlike the majority of the cases relied upon by plaintiffs, however, there is absolutely no




3
        Plaintiffs also cited to the court’s decision in In re Southeastern Milk Antitrust Litig., 2011
WL 13122688, at *3 (E.D. Tenn. July 15, 2011) regarding DFA’s former CEO Gary Hanman’s
compensation. Opp’n at 5. However, Mr. Hanman’s compensation is not the subject of the present
motion in limine; DFA filed a separate motion addressing the reasons that evidence is inadmissible.
See DFA’s Mot. in Limine No. 4, ECF No. 204. Rather, this motion seeks only to exclude the
compensation amounts for each of the ten executives that were the subject of the Court’s discovery
order of May 18, 2018. Hr’g Tr. 3:3-6; 33:1-10, May 18, 2018, ECF No. 71; see also MIL No. 7
at 1-2.


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evidence in this case that any compensation (e.g., salaries, bonuses, etc.) is tied to suppressing

farmers’ pay prices in the Northeast. Plaintiffs provide no evidence of a direct link between

compensation and the alleged conspiracy, beyond a vague allegation that “compensation has been

tied to the performance of DFA’s commercial operations (which benefit from lower milk prices),”

without any record cites. Opp’n at 3. Because plaintiffs cannot link the compensation of DFA’s

employees to the alleged conspiracy, such information is irrelevant and, therefore, inadmissible.

       Even assuming, arguendo, that executive compensation information is relevant, such

information should still be excluded because its marginal value would be substantially outweighed

by the danger of unfair prejudice to DFA.4 See Fed. R. Evid. 403. While plaintiffs deny that they

will “offer[] evidence of executive compensation to ‘inflame’ the jury or otherwise appeal to the

jury’s potential prejudices,” Opp’n at 6, the opposite is true. Indeed, even in their Opposition,

plaintiffs cannot help but draw unfair, apples-to-oranges comparisons between the compensation

of DFA’s Chief Executive Officer Rick Smith and farmer income.5 See Opp’n at 2-3. Plaintiffs

even go so far as to characterize these DFA employees’ earned compensation as a “payoff.” Id. at

6 n.5. The use of such evidence to inflame and bias the jury against DFA is plainly improper. See,

e.g., United States v. Al-Moayad, 545 F.3d 139, 161 (2d. Cir. 2008) (admission of “inflammatory”

testimony “almost entirely unrelated” to government’s case amounted to “blatant appeal to jury’s



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       Indeed, even the cases cited by plaintiffs acknowledge the risks associated with permitting
compensation evidence. See, e.g., United States v. Hawley, 562 F. Supp. 2d 1017, 1034 (N.D.
Iowa 2008) (“[E]vidence of a defendant's financial condition and income may be relevant to the
defendant's motive for a fraudulent scheme, but it also has some potential for unfair prejudice.”)
(emphasis added) (citation omitted); see also United States v. Quattrone, 441 F.3d 153, 187 (2d
Cir. 2006) (noting that “evidence of compensation, wealth, or lack thereof can unduly prejudice
jury deliberations,” before finding that plaintiffs’ safeguards were sufficient) (emphasis added).
5
        As noted in DFA’s MIL No. 7, farmers’ income can vary widely, based on a number of
favors, such as the size of their operation, efficiency of their business, and quality of the milk they
produce. The salary of an executive at a cooperative is simply not comparable.


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emotions and prejudices” and was improper); see also United States v. Stahl, 616 F.2d 30, 32-33

(2d Cr. 1980) (holding that appeals to “class prejudice . . . are improper and have no place in a

court room”); Aristocrat Leisure Ltd. v. Deustche Bank Tr. Co. Ams., No. 04 Civ. 10014, 2009

U.S. Dist. LEXIS 89183, at *18 (S.D.N.Y. Sep. 28, 2009) (holding that “any limited value” of the

amount of defendants’ compensation “is outweighed by its potential to bias the jury under Rule

403”).

                                        CONCLUSION

         For the foregoing reasons, DFA respectfully requests that the Court grant its motion in

limine to preclude plaintiffs and their witnesses from introducing or otherwise referencing the

aforementioned evidence. DFA also respectfully requests that the Court schedule an evidentiary

hearing on this motion.




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Dated: June 23, 2020                   Respectfully submitted,

                                        /s/ Alfred C. Pfeiffer Jr.
                                       Alfred C. Pfeiffer Jr. (admitted pro hac vice)
                                       Sarah M. Ray (admitted pro hac vice)
                                       LATHAM & WATKINS LLP
                                       505 Montgomery Street, Suite 2000
                                       San Francisco, CA 94111
                                       Telephone: 415-391-0600
                                       Facsimile: 415-395-8095
                                       Email: al.pfeiffer@lw.com
                                       Email: sarah.ray@lw.com
                                       Margaret M. Zwisler (admitted pro hac vice)
                                       Jennifer L. Giordano (admitted pro hac vice)
                                       Molly M. Barron (admitted pro hac vice)
                                       LATHAM & WATKINS LLP
                                       555 Eleventh Street, NW, Suite 1000
                                       Washington, DC 20004
                                       Telephone: 202-637-2200
                                       Facsimile: 202-637-2201
                                       Email: margaret.zwisler@lw.com
                                       Email: jennifer.giordano@lw.com
                                       Email: molly.barron@lw.com
                                       W. Todd Miller (admitted pro hac vice)
                                       BAKER & MILLER PLLC
                                       2401 Pennsylvania Avenue, NW, Suite 300
                                       Washington, DC 20037
                                       Telephone: 202-663-7820
                                       Facsimile: 202-663-7849
                                       Email: tmiller@bakerandmiller.com
                                       Ian P. Carleton
                                       SHEEHEY FURLONG & BEHM P.C.
                                       30 Main Street, P.O. Box 66
                                       Burlington, VT 05402
                                       Telephone: 802-864-9891
                                       Email: icarleton@sheeheyvt.com
                                       Counsel for Defendants Dairy Farmers of
                                       America, Inc. and Dairy Marketing Services,
                                       LLC




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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 23, 2020, I electronically filed with the Clerk of Court the
foregoing document using the CM/ECF system and the below parties via email. The CM/ECF
system will provide service of such filing via Notice of Electronic Filing (NEF) to the following
NEF parties:

       Joel G. Beckman, Esq. (jbeckman@nbparis.com)
       Gary L. Franklin, Esq. (gfranklin@primmer.com)
       William C. Nystrom, Esq. (wnystrom@nbparis.com)
       Elizabeth A. Reidy, Esq. (ereidy@nbparis.com)
       Dana A. Zakarian, Esq. (dzakarian@nbparis.com)

Dated: June 23, 2020
                                                    /s/ Alfred C. Pfeiffer Jr.
                                                    Alfred C. Pfeiffer Jr. (admitted pro hac vice)
                                                    LATHAM & WATKINS LLP
                                                    505 Montgomery Street, Suite 2000
                                                    San Francisco, CA 94111
                                                    Telephone: 415-391-0600
                                                    Facsimile: 415-395-8095
                                                    Email: al.pfeiffer@lw.com
